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          Arjeta Albani, E sq.
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                                                                              March 26, 2025
          VIA ECF
          Hon. Gary Stein
          Thurgood Marshall
          United States Courthouse
          500 Pearl Street
          New York, New York 10007

                                       Re: Igartua v. Late Bloomers NYC LLC
                                        Docket No. 1:24-CV-07966-JHR-GS
          Dear Judge Stein,

                  Our office represents Plaintiff Juan Igartua (“Plaintiff”) in the above-referenced ADA
          matter. Plaintiff filed a motion for default judgment against the Plaintiff on March 24, 2025. I am
          writing to respectfully request an extension of time to complete service of our Motion for Default
          Judgment.

                 Upon filing the motion, we sent the motion to our process server to be served upon the
          Defendant. However, we have requested the affidavit of service, and our process server has
          informed us that they have not yet been able to effectuate service of the motion on the Defendant.
          We are actively working with the process server to ensure that service is completed expeditiously,
          and that the affidavit of service is provided forthwith.

                For the foregoing reasons, we therefore request an additional 7 days to complete service of
          the Motion for Default Judgment.

                    Thank you for your consideration of this request.
Application granted. Plaintiff’s time to serve his
motion and supporting papers on Defendant and file
                                                                Respectfully submitted,
an affidavit of service on ECF is hereby extended to
Wednesday, April 2, 2025.

Date: March 28, 2025
      New York, NY                                             Arjeta Albani, Esq.
